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                               IN THE UNITED STATES DISTRICT COURT
                                   For The Southern District of Ohio
                                           Western Division


United States of America
                       Plaintiff,                    Case No. 3:12cr116
         v.                                          Judge Thomas M. Rose


Jameel Tabor
                       Defendant,



              ENTRY AND ORDER DENYING DEFENDANT’S MOTION
               FOR CONSIDERATION OF EARLY RELEASE (Doc. 404)



         This matter comes before the Court pursuant to Defendant’s Motion for Consideration of
Early Release (Doc. 404). The Government filed a Response (Doc. 405) and no Reply has been
filed.

         Defendant requests this consideration based upon concern about the COVID-19
pandemic and his health and well-being during his incarceration. This Court would conclude the
Motion is pursuant to 18 U.S.C. 3582(c)(1)(A)(i), asking that consideration be given to his
release from confinement because of the recent outbreak of COVID-19 virus pandemic in the
community at large and throughout Bureau of Prisons. Based upon the Defendant’s filing there is
no indication that he has exhausted his BOP (Bureau of Prisons) remedies.

         Section 3582(c)(1)(A) expressly provides that the Court “may not modify a term of
imprisonment” upon a motion brought by a defendant until “after the defendant has fully
exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a motion
on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by the warden
of the defendant’s facility, whichever is earlier…” 18 U.S.C. 3582(c)(1)(A) (emphasis added).
Given the lack of any indication that the Defendant has fully exhausted his Bureau of Prisons
remedies, and that he has not otherwise shown that either condition of this statutory exhaustion
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requirement has been fulfilled, the Court cannot grant this motion. Ross v. Blake, 136 S. Ct.
1850, 1856-57, 195 L. Ed. 2d 117 (2016) (a court may not excuse exhaustion requirements
mandated by statute because “mandatory exhaustion statutes … establish mandatory exhaustion
regimes, foreclosing judicial discretion”); see also United States v. Allen, Case No. 1:19-cr-98-
10, 2020 U.S. Dist. LEXIS 66414 (N.D. Ohio Apr. 15, 2020) (denying defendant’s motion for
compassionate release in context of COVID-19 pandemic because he failed to comply with the
exhaustion and 30-day requirements of § 3582(c)(1)(A)); United States v. Alam, Case No. 15-
20351, 2020 U.S. Dist. LEXIS 61588, at *6-7 (E.D. Mich. Apr. 8, 2020) (denying emergency
motion for compassionate release, collecting cases, and concluding that “neither condition
described in 18 U.S.C. § 3582(c)(1)(A) is met, and that this failure to exhaust cannot be excused,
even in light of the COVID-19 pandemic”). Therefore, the Court DENIES Defendant’s Motion
for Consideration of Early Release (Doc. 404) without prejudice.

       IT IS SO ORDERED.

       Date: May 6, 2020                             *s/Thomas M. Rose
                                      ___________________________________
                                            Judge Thomas M. Rose
                                            United States District Court
